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AO 133(Rev. 12/09) Bill of Costs


                                               UNITEDSTATESDISTRICTCOURT
                                                                                         forthe
                                                                          Eastern District
                                                                                  DistrictofTexas
                                                                                           of __________


                                        v.)                                                        Case No.:



                                                                               BILL OFCOSTS
Judgment having been entered inthe above entitled action onagainst
                                                                                                    Date
theClerk isrequested totaxthefollowing ascosts:
Fees ofthe Clerk ..................................................................$
Fees forservice ofsummons andsubpoena..............................................
Fees forprinted orelectronically recorded transcripts necessarily obtained foruseinthecase . . . . . .
Fees and disbursements for printing....................................................
Fees forwitnesses (itemizeonpagetwo)...................................................
Fees forexemplification andthecosts ofmaking copies ofanymaterials where the copies are
necessarily obtained foruseinthecase. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Docket feesunder 28U.S.C.1923.....................................................
Costs asshown onMandate of Court of Appeals..........................................
Compensation ofcourt-appointed experts...............................................
Compensation ofinterpreters andcosts ofspecial interpretation services under 28U.S.C.1828.....
Other costspleaseitemize).............................................................
                                                                                                                                    TOTAL$
SPECIAL NOTE: Attach toyour billanitemization anddocumentation for requested costs inallcategories.
                                                                                     Declaration
          Ideclare under penalty ofperjury thattheforegoing costs arecorrect andwere necessarily incurred inthisaction andthatthe
services forwhich feeshave been charged were actually andnecessarily performed. Acopy ofthisbillhasbeen served onallparties
inthefollowing manner:
                   Electronic serviceFirst class mail, postage prepaid
                   Other:
  s/Attorney:
                         Name ofAttorney:
For:                                                                                                                                    Date:
                                                           NameofClaimingParty

                                                                                Taxation ofCosts
Costs are taxed in the amount ofand included in the judgment.
                                                                                By:
                         Clerk ofCourtDeputy ClerkDate
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AO 133 (Rev. 12/09) Bill ofCosts


                                   UNITEDSTATESDISTRICTCOURT
                                   Witness Fees (computation, cf.28U.S.C.1821for statutory fees)
                                                           ATTENDANCESUBSISTENCEMILEAGE
                                                                                                                Total Cost
          NAME , CITY AND STATE OF   RESIDENCEEach
                                 TotalTotalTotal                                                              Witness
                             DaysCostDaysCostMilesCost




                                                                                                  TOTAL


                                                            NOTICE
  Section1924,Title28,U.S.Code (effective September 1,1948) provides:
   Sec. 1924. Verification ofbillofcosts.”
       Beforeanybillofcostsistaxed, thepartyclaiming anyitemofcostordisbursement shallattachtheretoanaffidavit, madebyhimselforby
  hisdulyauthorized attorneyoragenthavingknowledge ofthefacts, thatsuchitemiscorrectandhasbeennecessarily incurred inthecaseand
  thattheservicesforwhichfeeshavebeenchargedwereactuallyandnecessarily performed.”
  SeealsoSection1920ofTitle28,whichreadsinpartasfollows:
      Abillofcostsshallbefiledinthecaseand, uponallowance, included inthejudgment ordecree.”
  TheFederal RulesofCivilProcedure contain thefollowing provisions:
  RULE54(d)(1)
  CostsOtherthanAttorneys’ Fees.
     Unlessafederalstatute, theserules, oracourtorderprovides otherwise, costs — otherthanattorney'sfees — shouldbeallowedtothe
  prevailing party.ButcostsagainsttheUnitedStates, itsofficers, anditsagencies maybeimposed onlytotheextentallowedbylaw.Theclerk
  maytaxcostson14day'snotice. Onmotionservedwithinthenext7days, thecourtmayreviewtheclerk'saction.
  RULE6
   d)Additional TimeAfterCertain KindsofService.

      Whenapartymayormustactwithinaspecified timeafterservice andserviceismadeunderRule5(b)(2)(C), D),
                                                                                                   ( E),
                                                                                                       ( or (F),3daysare
  addedaftertheperiodwouldotherwise expireunderRule6(a).
  RULE58(e)
  CostorFeeAwards:
       Ordinarily, theentryofjudgment maynotbedelayed, northetimeforappealextended, inordertotaxcostsorawardfees. Butifa
  timelymotionforattorney'sfeesismadeunderRule54(d)(2), thecourtmayactbeforeanoticeofappealhasbeenfiledandbecome
  effective toorderthatthemotionhavethesameeffectunderFederalRuleofAppellate Procedure 4(a)(4)asatimelymotion underRule59.
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